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    8                            UNITED STATES DISTRICT COURT
    9                          CENTRAL DISTRICT OF CALIFORNIA
   10                                   SOUTHERN DIVISION
   11
        CHIPOTLE MEXICAN GRILL, INC.                      Case No. 8:20-cv-01568-JVS-ADS
   12   AND CMG PEPPER, LLC,
                                                          STIPULATION AND
   13                                   Plaintiffs,       PROTECTIVE ORDER
   14            v.                                       Honorable James V. Selna
   15   ATLANTIC NATURAL FOODS, LLC.,                     Magistrate Judge Autumn D. Spaeth
   16                                 Defendant.
   17

   18            Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure and for good
   19   cause,
   20            IT IS HEREBY ORDERED THAT:
   21            1.    Scope of Protection
   22            This Protective Order shall govern any record of information produced in
   23   this action and designated pursuant to this Protective Order, including all
   24   designated deposition testimony, all designated testimony taken at a hearing or
   25   other proceeding, all designated deposition exhibits, interrogatory answers,
   26   admissions, documents and other discovery materials, whether produced
   27   informally or in response to interrogatories, requests for admissions, requests for
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    1   production of documents or other formal methods of discovery. This Protective
    2   Order shall also govern any designated record of information produced in this
    3   action pursuant to required disclosures under any federal procedural rule or local
    4   rule of the Court and any supplementary disclosures thereto.
    5         This Protective Order shall apply to the parties and to any nonparty from
    6   whom discovery may be sought who desires the protection of this Protective Order.
    7         Nonparties may challenge the confidentiality of the protected information by
    8   filing a motion to intervene and a motion to de-designate.
    9         2.     Good Cause Statement
   10         The parties expect that discovery in this case will include commercially
   11   sensitive information, such as sales figures, expenses, pricing, marketing plans,
   12   future commercial plans, confidential business or financial information,
   13   information regarding confidential business practices, or other confidential
   14   research, development, or commercial information, information otherwise
   15   generally unavailable to the public, or which may be privileged or otherwise
   16   protected from disclosure under state or federal statutes, court rules, case decisions,
   17   or common law. The parties believe they would be harmed if this information was
   18   publicly disclosed. Accordingly, to expedite the flow of information, to facilitate
   19   the prompt resolution of disputes over confidentiality of discovery materials, to
   20   adequately protect information the parties are entitled to keep confidential, to
   21   ensure that the parties are permitted reasonable necessary uses of such material in
   22   preparation for and in the conduct of trial, to address their handling at the end of
   23   the litigation, and serve the ends of justice, a protective order for such information
   24   is justified in this matter. It is the intent of the parties that information will not be
   25   designated as PROTECTED INFORMATION for tactical reasons and that nothing
   26   be so designated without a good faith belief that it has been maintained in a
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    1   confidential, non-public manner, and there is good cause why it should not be part
    2   of the public record of this case.
    3         3.     Definitions
    4                       The term PROTECTED INFORMATION shall mean
    5   confidential or proprietary technical, scientific, financial, business, health, or
    6   medical information designated as such by the producing party.
    7                       The term CONFIDENTIAL INFORMATION – ATTORNEYS
    8   EYES ONLY, shall mean PROTECTED INFORMATION that is so designated
    9   by the producing party. The designation CONFIDENTIAL - ATTORNEYS
   10   EYES ONLY may be used only for the following types of past, current, or future
   11   PROTECTED INFORMATION: (1) sensitive technical information, including
   12   current research, development and manufacturing information and patent
   13   prosecution information, (2) sensitive business information, including highly
   14   sensitive financial or marketing information and the identity of suppliers,
   15   distributors and potential or actual customers, (3) competitive technical
   16   information, including technical analyses or comparisons of competitor’s
   17   products, (4) competitive business information, including non-public financial or
   18   marketing analyses or comparisons of competitor’s products and strategic product
   19   planning, or (5) any other PROTECTED INFORMATION the disclosure of which
   20   to non-qualified people subject to this Protective Order the producing party
   21   reasonably and in good faith believes would likely cause harm.
   22                       The term CONFIDENTIAL INFORMATION shall mean all
   23   PROTECTED INFORMATION that is not designated as "CONFIDENTIAL -
   24   ATTORNEYS EYES ONLY" information.
   25                       The term TECHNICAL ADVISOR shall refer to any person
   26   who is not a party to this action and/or not presently employed by the receiving
   27   party or a company affiliated through common ownership, who has been
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    1   designated by the receiving party to receive another party’s PROTECTED
    2   INFORMATION, including CONFIDENTIAL INFORMATION – ATTORNEYS
    3   EYES ONLY, and CONFIDENTIAL INFORMATION. Each party’s
    4   TECHNICAL ADVISORS shall be limited to such person as, in the judgment of
    5   that party’s counsel, are reasonably necessary for development and presentation of
    6   that party’s case. These persons include outside experts or consultants retained to
    7   provide technical or other expert services such as expert testimony or otherwise
    8   assist in trial preparation.
    9         4.     Disclosure Agreements
   10                       Each receiving party’s TECHNICAL ADVISOR shall sign a
   11   disclosure agreement in the form attached hereto as Exhibit A (“Disclosure
   12   Agreement”). Copies of the Disclosure Agreement signed by any person or entity
   13   to whom PROTECTED INFORMATION is disclosed shall be provided to the
   14   other party promptly after execution by facsimile and overnight mail. No
   15   disclosures shall be made to a TECHNICAL ADVISOR until seven (7) days after
   16   the executed Disclosure Agreement is served on the other party.
   17                       Before any PROTECTED INFORMATION is disclosed to
   18   outside TECHNICAL ADVISORS, the following information must be provided in
   19   writing to the producing party and received no less than fourteen (14) days before
   20   the intended date of disclosure to that outside TECHNICAL ADVISOR: the
   21   identity of that outside TECHNICAL ADVISOR, business address and/or
   22   affiliation and a current curriculum vitae of the TECHNICAL ADVISOR, and, if
   23   not contained in the TECHNICAL ADVISOR’s curriculum vitae, a brief
   24   description, including education, present and past employment and general areas
   25   of expertise of the TECHNICAL ADVISOR. If the producing party objects to
   26   disclosure of PROTECTED INFORMATION to an outside TECHNICAL
   27   ADVISOR, the producing party shall within seven (7) days of receipt serve
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    1   written objections identifying the specific basis for the objection, and particularly
    2   identifying all information to which disclosure is objected. Failure to object
    3   within seven (7) days shall authorize the disclosure of PROTECTED
    4   INFORMATION to the TECHNICAL ADVISOR. As to any objections, the
    5   parties shall attempt in good faith to promptly resolve any objections informally.
    6   If the objections cannot be resolved, the party seeking to prevent disclosure of the
    7   PROTECTED INFORMATION to the expert shall move within seven (7) days
    8   thereafter for an Order of the Court preventing the disclosure. The burden of
    9   proving that the designation is proper shall be upon the producing party. If no
   10   such motion is made within seven (7) days, disclosure to the TECHNICAL
   11   ADVISOR shall be permitted. In the event that objections are made and not
   12   resolved informally and a motion is filed, disclosure of PROTECTED
   13   INFORMATION to the TECHNICAL ADVISOR shall not be made except by
   14   Order of the Court.
   15                      Any disclosure agreement executed by any person affiliated
   16   with a party shall be provided to any other party who, based upon a good faith
   17   belief that there has been a violation of this order, requests a copy.
   18                      No party shall attempt to depose any TECHNICAL ADVISOR
   19   unless and until such time as the TECHNICAL ADVISOR is designated by the
   20   party engaging the TECHNICAL ADVISOR as a testifying expert.
   21   Notwithstanding the preceding sentence, any party may depose a TECHNICAL
   22   ADVISOR as a fact witness provided that the party seeking such deposition has a
   23   good faith, demonstrable basis independent of the Disclosure Agreement or the
   24   information provided under subparagraph (a) above that such person possesses
   25   facts relevant to this action, or facts likely to lead to the discovery of admissible
   26   evidence; however, such deposition, if it precedes the designation of such person
   27   by the engaging party as a testifying expert, shall not include any questions
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    1   regarding the scope or subject matter of the engagement. In addition, if the
    2   engaging party chooses not to designate the TECHNICAL ADVISOR as a
    3   testifying expert, the non-engaging party shall be barred from seeking discovery or
    4   trial testimony as to the scope or subject matter of the engagement.
    5         5.    Designation of Information
    6                      Documents and things produced or furnished during the course
    7   of this action shall be designated as containing CONFIDENTIAL
    8   INFORMATION, by placing on each page, each document (whether in paper or
    9   electronic form), or each thing a legend substantially as follows:
   10                          CONFIDENTIAL INFORMATION
   11                      Documents and things produced or furnished during the course
   12   of this action shall be designated as containing information which is
   13   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY by placing on
   14   each page, each document (whether in paper or electronic form), or each thing a
   15   legend substantially as follows:
   16          CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY
   17                      During discovery, a producing party shall have the option to
   18   require that all or batches of materials be treated as containing CONFIDENTIAL
   19   INFORMATION – ATTORNEYS EYES ONLY during inspection and to make
   20   its designation as to particular documents and things at the time copies of
   21   documents and things are furnished.
   22                      A party may designate information disclosed at a deposition as
   23   CONFIDENTIAL INFORMATION or CONFIDENTIAL INFORMATION –
   24   ATTORNEYS EYES ONLY by requesting the reporter to so designate the
   25   transcript at the time of the deposition or in writing thereafter. With respect to
   26   depositions during which there has been a general designation of testimony as
   27   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY, unless
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    1   otherwise agreed to by the parties, all such depositions and information contained
    2   therein shall be deemed “ATTORNEYS EYES ONLY” for twenty-one (21) days
    3   after the receipt of the official transcript. During the twenty-one (21) days, the
    4   parties shall provide specific designations to the deposition transcripts. Although
    5   failure to make a specific designation during this period will be construed as the
    6   withdrawing of the general confidentiality designation, the parties shall meet and
    7   confer before disclosing such information. This paragraph shall not apply if only
    8   specific portions of the deposition transcript were designated in the first instance.
    9   In the event that the Parties fail to designate testimony as CONFIDENTIAL
   10   INFORMATION or CONFIDENTIAL INFORMATION – ATTORNEYS EYES
   11   ONLY prior to the close of the deposition, the deposition transcript shall be
   12   deemed CONFIDENTIAL INFORMATION for twenty-one (21) days after the
   13   receipt of the official transcript, during which time the parties may designate the
   14   entirety of the deposition or specific portions thereof CONFIDENTIAL
   15   INFORMATION and/or designate specific portions of the deposition as
   16   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY. If neither
   17   party designates the deposition (or portions thereof) as CONFIDENTIAL
   18   INFORMATION or CONFIDENTIAL INFORMATION – ATTORNEYS EYES
   19   ONLY during the twenty-one (21) day period, the deposition will be deemed not
   20   to be confidential.
   21                         A producing party shall designate its discovery responses,
   22   responses to requests for admission, briefs, memoranda, and all other papers sent
   23   to the court or to opposing counsel as containing CONFIDENTIAL
   24   INFORMATION or CONFIDENTIAL INFORMATION – ATTORNEYS EYES
   25   ONLY when such papers are served or sent.
   26                         A party shall designate information disclosed at a hearing or
   27   trial as CONFIDENTIAL INFORMATION or as CONFIDENTIAL
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    1   INFORMATION – ATTORNEYS EYES ONLY by requesting the court, at the
    2   time the information is proffered or adduced, to receive the information only in the
    3   presence of those persons designated to receive such information and court
    4   personnel, and to designate the transcript appropriately.
    5                      The parties will use reasonable care to avoid designating any
    6   documents or information as CONFIDENTIAL INFORMATION or as
    7   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY that is not
    8   entitled to such designation or which is generally available to the public. The
    9   parties shall designate only that part of a document or deposition that is
   10   CONFIDENTIAL INFORMATION or CONFIDENTIAL INFORMATION –
   11   ATTORNEYS EYES ONLY, rather than the entire document or deposition. For
   12   example, if a party claims that a document contains pricing information that is
   13   CONFIDENTIAL – ATTORNEYS EYES ONLY, the party will designate only
   14   that part of the document setting forth the specific pricing information as
   15   ATTORNEYS EYES ONLY, rather than the entire document.
   16                      In multi-party cases, Plaintiffs and/or Defendants shall further
   17   be able to designate documents as CONFIDENTIAL INFORMATION – NOT TO
   18   BE DISCLOSED TO OTHER PLAINTIFFS or CONFIDENTIAL
   19   INFORMATION – NOT TO BE DISCLOSED TO OTHER DEFENDANTS for
   20   documents that shall not be disclosed to other parties.
   21         6.     Disclosure and Use of Confidential Information
   22         Information that has been designated CONFIDENTIAL INFORMATION or
   23   as CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY shall be
   24   disclosed by the receiving party only to Qualified Recipients. All Qualified
   25   Recipients shall hold such information received from the disclosing party in
   26   confidence, shall use the information only for purposes of this action and for no
   27   other action, and shall not use it for any business or other commercial purpose, and
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    1   shall not use it for filing or prosecuting any patent application (of any type) or
    2   patent reissue or reexamination request, and shall not disclose it to any person,
    3   except as hereinafter provided. All information that has been designated
    4   CONFIDENTIAL INFORMATION or as CONFIDENTIAL INFORMATION –
    5   ATTORNEYS EYES ONLY shall be carefully maintained so as to preclude access
    6   by persons who are not qualified to receive such information under the terms of
    7   this Order.
    8         In multi-party cases, documents designated as CONFIDENTIAL
    9   INFORMATION – NOT TO BE DISCLOSED TO OTHER PLAINTIFFS or
   10   CONFIDENTIAL INFORMATION – NOT TO BE DISCLOSED TO OTHER
   11   DEFENDANTS shall not be disclosed to other plaintiffs and/or defendants.
   12         7.      Qualified Recipients
   13         For purposes of this Order, “Qualified Recipient" means
   14                       For CONFIDENTIAL INFORMATION – ATTORNEYS
   15   EYES ONLY:
   16                             Outside counsel of record for the parties in this action,
   17   and the partners, associates, secretaries, paralegal assistants, and employees of
   18   such counsel to the extent reasonably necessary to render professional services in
   19   the action, outside copying services, document management services and graphic
   20   services;
   21                             In-house counsel for the parties in this action who are
   22   acting in a legal capacity and who are actively engaged in the conduct of this
   23   action, and the secretary and paralegal assistants of such counsel to the extent
   24   reasonably necessary;
   25                             Court officials involved in this action (including court
   26   reporters, persons operating video recording equipment at depositions, and any
   27   special master appointed by the Court);
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     1                             Any person designated by the Court in the interest of
     2   justice, upon such terms as the Court may deem proper;
     3                             Any outside TECHNICAL ADVISOR employed by the
     4   outside counsel of record, subject to the requirements in Paragraph 4 above;
     5                             Any witness during the course of discovery, so long as it
     6   is stated on the face of each document designated CONFIDENTIAL
     7   INFORMATION – ATTORNEYS EYES ONLY being disclosed that the witness
     8   to whom a party is seeking to disclose the document was either an author,
     9   recipient, or otherwise involved in the creation of the document. Where it is not
    10   stated on the face of the confidential document being disclosed that the witness to
    11   whom a party is seeking to disclose the document was either an author, recipient,
    12   or otherwise involved in the creation of the document, the party seeking disclosure
    13   may nonetheless disclose the confidential document to the witness, provided that:
    14   (i) the party seeking disclosure has a reasonable basis for believing that the witness
    15   in fact received or reviewed the document, (ii) the party seeking disclosure
    16   provides advance notice to the party that produced the document, and (iii) the party
    17   that produced the document does not inform the party seeking disclosure that the
    18   person to whom the party intends to disclose the document did not in fact receive
    19   or review the documents. Nothing herein shall prevent disclosure at a deposition
    20   of a document designated CONFIDENTIAL INFORMATION – ATTORNEYS
    21   EYES ONLY to the officers, directors, and managerial level employees of the
    22   party producing such CONFIDENTIAL INFORMATION – ATTORNEYS EYES
    23   ONLY, or to any employee of such party who has access to such
    24   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY in the
    25   ordinary course of such employee’s employment; and
    26                             Any designated arbitrator or mediator who is assigned to
    27   hear this matter, or who has been selected by the parties, and his or her staff,
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     1   provided that such individuals agree in writing, pursuant to the Disclosure
     2   Agreement, to be bound by the terms of this Order.
     3                       FOR CONFIDENTIAL INFORMATION:
     4                              Those persons listed in paragraph 7(a);
     5                              The insurer of a party to litigation and employees of such
     6   insurer to the extent reasonably necessary to assist the party’s counsel to afford the
     7   insurer an opportunity to investigate and evaluate the claim for purposes of
     8   determining coverage and for settlement purposes; and
     9                              Representatives, officers, or employees of a party as
    10   necessary to assist outside counsel with this litigation.
    11         8.     Use of Protected Information
    12                       In the event that any receiving party’s briefs, memoranda,
    13   discovery requests, requests for admission, or other papers of any kind that are
    14   served or filed include another party’s CONFIDENTIAL INFORMATION or
    15   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY, the papers
    16   must be appropriately designated pursuant to paragraphs 5(a) and (b) and
    17   governed by LR L.R. 79-5.
    18                       All documents, including attorney notes and abstracts, that
    19   contain another party’s CONFIDENTIAL INFORMATION or CONFIDENTIAL
    20   INFORMATION – ATTORNEYS EYES ONLY, shall be handled as if they were
    21   designated pursuant to paragraph 5(a) or (b).
    22                       Documents, papers, and transcripts that are filed with the court
    23   and contain any other party’s CONFIDENTIAL INFORMATION or
    24   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY shall be filed
    25   in accordance with L.R. 79-5.
    26                       To the extent that documents are reviewed by a receiving party
    27   prior to production, any knowledge learned during the review process will be
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     1   treated by the receiving party as CONFIDENTIAL INFORMATION –
     2   ATTORNEYS EYES ONLY until such time as the documents have been
     3   produced, at which time any stamped classification will control. No photograph
     4   or any other means of duplication, including but not limited to electronic means,
     5   of materials provided for review prior to production is permitted before the
     6   documents are produced with the appropriate stamped classification.
     7                      In the event that any question is asked at a deposition with
     8   respect to which a party asserts that the answer requires the disclosure of
     9   CONFIDENTIAL INFORMATION or CONFIDENTIAL INFORMATION –
    10   ATTORNEYS EYES ONLY, such question shall nonetheless be answered by the
    11   witness fully and completely. Prior to answering, however, all persons present
    12   shall be advised of this Order by the party making the confidentiality assertion
    13   and, in the case of information designated as CONFIDENTIAL INFORMATION
    14   – ATTORNEYS EYES ONLY at the request of such party, all persons who are
    15   not allowed to obtain such information pursuant to this Order, other than the
    16   witness, shall leave the room during the time in which this information is
    17   disclosed or discussed.
    18                      Nothing in this Protective Order shall bar or otherwise restrict
    19   outside counsel from rendering advice to his or her client with respect to this
    20   action and, in the course thereof, from relying in a general way upon his
    21   examination of materials designated CONFIDENTIAL INFORMATION or
    22   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY, provided,
    23   however, that in rendering such advice and in otherwise communicating with his
    24   or her clients, such counsel shall not disclose the specific contents of any materials
    25   designated CONFIDENTIAL INFORMATION or CONFIDENTIAL
    26   INFORMATION – ATTORNEYS EYES ONLY.
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     1         9.    Inadvertent Failure to Designate
     2                      In the event that a producing party inadvertently fails to
     3   designate any of its information pursuant to paragraph 5, it may later designate by
     4   notifying the receiving parties in writing. The receiving parties shall take
     5   reasonable steps to see that the information is thereafter treated in accordance with
     6   the designation.
     7                      It shall be understood however, that no person or party shall
     8   incur any liability hereunder with respect to disclosure that occurred prior to
     9   receipt of written notice of a belated designation.
    10         10.   Challenge to Designation
    11                      Any receiving party may challenge a producing party’s
    12   designation at any time. A failure of any party to expressly challenge a claim of
    13   confidentiality or any document designation shall not constitute a waiver of the
    14   right to assert at any subsequent time that the same is not in-fact confidential or
    15   not an appropriate designation for any reason.
    16                      Any receiving party may disagree with the designation of any
    17   information received from the producing party as CONFIDENTIAL
    18   INFORMATION or CONFIDENTIAL INFORMATION – ATTORNEYS EYES
    19   ONLY. In that case, any receiving party desiring to disclose or to permit
    20   inspection of the same otherwise than is permitted in this Order, may request the
    21   producing party in writing to change the designation of a document or documents,
    22   stating with particularity the reasons for that request, and specifying the category
    23   to which the challenged document(s) should be de-designated The producing
    24   party shall then have seven (7) days from the date of service of the request to:
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     1                            advise the receiving parties whether or not it persists in
     2                            such designation; and
     3                            if it persists in the designation, to explain the reason for
     4                            the particular designation and to state its intent to seek a
     5                            protective order or any other order to maintain the
     6                            designation.
     7                      If no response is made within seven (7) days after service of the
     8   request under subparagraph (b), the information will be deemed re-designated as
     9   requested by the receiving party. If, however, the request under subparagraph (b)
    10   above is responded to under subparagraph (b)(i) and (ii), within seven (7) days the
    11   producing party may then move the court for a protective order or any other order
    12   to maintain the designation. The burden of proving that the designation is proper
    13   shall be upon the producing party. If no such motion is made within seven (7)
    14   days after the statement to seek an order under subparagraph (b)(ii), the
    15   information will be de-designated to the category requested by the receiving party.
    16   In the event objections are made and not resolved informally and a motion is filed,
    17   disclosure of information shall not be made until the issue has been resolved by
    18   the Court (or to any limited extent upon which the parties may agree).
    19         No party shall be obligated to challenge the propriety of any designation
    20   when made, and failure to do so shall not preclude a subsequent challenge to the
    21   propriety of such designation.
    22                      With respect to requests and applications to remove or change a
    23   designation, information shall not be considered confidential or proprietary to the
    24   producing party if:
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     1                              the information in question has become available to the
     2                              public through no violation of this Order; or
     3                              the information was known to any receiving party prior
     4                              to its receipt from the producing party; or
     5                              the information was received by any receiving party
     6                              without restrictions on disclosure from a third party
     7                              having the right to make such a disclosure.
     8         11.    Inadvertently Produced Privileged Documents
     9         The parties hereto also acknowledge that regardless of the producing party’s
    10   diligence an inadvertent production of attorney-client privileged or attorney work
    11   product materials may occur. In accordance with Fed. R. Civ. P. 26(b)(5) and Fed.
    12   R. Evid. 502, they therefore agree that if a party through inadvertence produces or
    13   provides discovery that it believes is subject to a claim of attorney-client privilege
    14   or attorney work product, the producing party may give written notice to the
    15   receiving party that the document or thing is subject to a claim of attorney-client
    16   privilege or attorney work product and request that the document or thing be
    17   returned to the producing party. The receiving party shall return to the producing
    18   party such document or thing. Return of the document or thing shall not constitute
    19   an admission or concession, or permit any inference, that the returned document or
    20   thing is, in fact, properly subject to a claim of attorney-client privilege or attorney
    21   work product, nor shall it foreclose any party from moving the Court pursuant to
    22   Fed. R. Civ. P. 26(b)(5) and Fed. R. Evid. 502 for an Order that such document or
    23   thing has been improperly designated or should be produced.
    24         12.    Inadvertent Disclosure
    25         In the event of an inadvertent disclosure of another party’s
    26   CONFIDENTIAL INFORMATION or CONFIDENTIAL INFORMATION –
    27   ATTORNEYS EYES ONLY to a non-Qualified Recipient, the party making the
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     1   inadvertent disclosure shall promptly upon learning of the disclosure: (i) notify the
     2   person to whom the disclosure was made that it contains CONFIDENTIAL
     3   INFORMATION or CONFIDENTIAL INFORMATION – ATTORNEYS EYES
     4   ONLY subject to this Order; (ii) make all reasonable efforts to preclude
     5   dissemination or use of the CONFIDENTIAL INFORMATION or
     6   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY by the person
     7   to whom disclosure was inadvertently made including, but not limited to, obtaining
     8   all copies of such materials from the non-Qualified Recipient; and (iii) notify the
     9   producing party of the identity of the person to whom the disclosure was made, the
    10   circumstances surrounding the disclosure, and the steps taken to ensure against the
    11   dissemination or use of the information.
    12         13.    Limitation
    13         This Order shall be without prejudice to any party’s right to assert at any
    14   time that any particular information or document is or is not subject to discovery,
    15   production or admissibility on the grounds other than confidentiality.
    16         14.    Conclusion of Action
    17                      At the conclusion of this action, including through all appeals,
    18   each party or other person subject to the terms hereof shall be under an obligation
    19   to destroy or return to the producing party all materials and documents containing
    20   CONFIDENTIAL INFORMATION or CONFIDENTIAL INFORMATION –
    21   ATTORNEYS EYES ONLY and to certify to the producing party such
    22   destruction or return. Such return or destruction shall not relieve said parties or
    23   persons from any of the continuing obligations imposed upon them by this Order.
    24                      After this action, trial counsel for each party may retain one
    25   archive copy of all documents and discovery material even if they contain or
    26   reflect another party’s CONFIDENTIAL INFORMATION or CONFIDENTIAL
    27   INFORMATION – ATTORNEYS EYES ONLY. Trial counsel’s archive copy
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                                          PROTECTIVE ORDER
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     1   shall remain subject to all obligations of this Order.
     2                       The provisions of this paragraph shall not be binding on the
     3   United States, any insurance company, or any other party to the extent that such
     4   provisions conflict with applicable Federal or State law. The Department of
     5   Justice, any insurance company, or any other party shall notify the producing party
     6   in writing of any such conflict it identifies in connection with a particular matter
     7   so that such matter can be resolved either by the parties or by the Court.
     8         15.     Production by Third Parties Pursuant to Subpoena
     9         Any third party producing documents or things or giving testimony in this
    10   action pursuant to a subpoena, notice or request may designate said documents,
    11   things, or testimony as CONFIDENTIAL INFORMATION or CONFIDENTIAL
    12   INFORMATION – ATTORNEYS EYES ONLY. The parties agree that they will
    13   treat CONFIDENTIAL INFORMATION or CONFIDENTIAL INFORMATION –
    14   ATTORNEYS EYES ONLY produced by third parties according to the terms of
    15   this Order.
    16         16.     Compulsory Disclosure to Third Parties
    17         If any receiving party is subpoenaed in another action or proceeding or
    18   served with a document or testimony demand or a court order, and such subpoena
    19   or demand or court order seeks CONFIDENTIAL INFORMATION or
    20   CONFIDENTIAL INFORMATION – ATTORNEYS EYES ONLY of a producing
    21   party, the receiving party shall give prompt written notice to counsel for the
    22   producing party and allow the producing party an opportunity to oppose such
    23   subpoena or demand or court order prior to the deadline for complying with the
    24   subpoena or demand or court order. No compulsory disclosure to third parties of
    25   information or material exchanged under this Order shall be deemed a waiver of
    26   any claim of confidentiality, except as expressly found by a court or judicial
    27   authority of competent jurisdiction.
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                                          PROTECTIVE ORDER
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     1            17.   Jurisdiction to Enforce Protective Order
     2            After the termination of this action, the Court will continue to have
     3   jurisdiction to enforce this Order.
     4            18.   Modification of Protective Order
     5            This Order is without prejudice to the right of any person or entity to seek a
     6   modification of this Order at any time either through stipulation or Order of the
     7   Court.
     8            19.   Confidentiality of Party’s Own Documents
     9            Nothing herein shall affect the right of the designating party to disclose to its
    10   officers, directors, employees, attorneys, consultants or experts, or to any other
    11   person, its own information. Such disclosure shall not waive the protections of this
    12   Protective Order and shall not entitle other parties or their attorneys to disclose
    13   such information in violation of it, unless by such disclosure of the designating
    14   party the information becomes public knowledge. Similarly, the Protective Order
    15   shall not preclude a party from showing its own information, including its own
    16   information that is filed under seal by a party, to its officers, directors, employees,
    17   attorneys, consultants or experts, or to any other person.
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                                             PROTECTIVE ORDER
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     1   IT IS SO STIPULATED:
     2   Dated: November 12, 2020              Holland & Hart LLP
     3

     4                                    By: /s/Benjamin N. Simler **
                                              Benjamin N. Simler
     5
                                               Attorneys for Plaintiffs Chipotle Mexican
     6                                         Grill, Inc. and CMG Pepper, LLC
     7                                         ** Pursuant to L.R. 5-4.3.4(a)(2)(i), I attest
                                               that all other signatories listed, and on whose
     8                                         behalf the filing is submitted, concur in the
                                               filing’s content and have authorized the filing.
     9

    10   By: /s/ Michael R. Kreiner (with permission)
         Michael R. Kreiner
    11
         Attorneys for Defendant Atlantic Natural
    12   Foods, LLC
    13

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    16         IT IS SO ORDERED:
    17   November 13, 2020                                 /s/ Autumn D. Spaeth
                                            By the Court: ___________________________
                                                           Autumn D. Spaeth
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                                                           U.S. Magistrate Judge
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                                         PROTECTIVE ORDER
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     8                            UNITED STATES DISTRICT COURT
     9                          CENTRAL DISTRICT OF CALIFORNIA
    10                                    SOUTHERN DIVISION
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          CHIPOTLE MEXICAN GRILL, INC.                     Case No. 8:20-cv-01568-JVS-ADS
    12    AND CMG PEPPER, LLC,
                                                           DISCLOSURE AGREEMENT
    13                                  Plaintiffs,
                                                           Honorable James V. Selna
    14          v.
                                                           Magistrate Judge Autumn D. Spaeth
    15    ATLANTIC NATURAL FOODS, LLC.,
    16                                 Defendant.
    17
               I, _________________________, am employed by
    18
         ______________________. In connection with this action, I:
    19
               ______ am a director, officer or employee of _________________________
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         who is directly assisting in this action;
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               ______ have been retained to furnish technical or other expert services or to
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         give testimony (a "TECHNICAL ADVISOR");
    23
               ______am an Other Qualified Recipient (as defined in the Protective Order)
    24
         (Describe:______________________________________________).
    25
               I have read, understand and agree to comply with and be bound by the terms
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         of the Protective Order in the above-captioned matter pending in the United States
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         District Court for the Central District of California. I further state that the
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                                                      20
                                           PROTECTIVE ORDER
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     1   Protective Order entered by the Court, a copy of which has been given to me and
     2   which I have read, prohibits me from using any PROTECTED INFORMATION,
     3   including documents, for any purpose not appropriate or necessary to my
     4   participation in this action or disclosing such documents or information to any
     5   person not entitled to receive them under the terms of the Protective Order.
     6         To the extent I have been given access to PROTECTED INFORMATION, I
     7   will not in any way disclose, discuss, or exhibit such information except to those
     8   persons whom I know (a) are authorized under the Protective Order to have access
     9   to such information, and (b) have executed a Disclosure Agreement.
    10         I will return, on request, all materials containing PROTECTED
    11   INFORMATION, copies thereof and notes that I have prepared relating thereto, to
    12   counsel for the party with whom I am associated.
    13         I agree to be bound by the Protective Order in every aspect and to be subject
    14   to the jurisdiction of the United States District Court for the Central District of
    15   California for purposes of its enforcement and the enforcement of my obligations
    16   under this Disclosure Agreement.
    17         I declare under penalty of perjury that the foregoing is true and correct.
    18                                           ___________________________________
    19                                           Signed by Recipient
    20                                           ____________________________________
    21                                           Name (printed)
    22                                           Date: _______________________________
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                                           PROTECTIVE ORDER
                                      CASE NO. 8:20-CV-01568-JVS-ADS
